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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     FRED PINEDA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-134-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     FRED PINEDA,                                   )
                                                    )       Date: November 12, 2013
13
                                                    )       Time: 9:45 a.m.
            Defendant.                              )       Judge: John A. Mendez
14
                                                    )
                                                    )
15
                                                    )
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17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for October 15, 2013. Counsel
20              for the parties request the date for judgment and sentencing be continued to
21              November 12, 2013 at 9:45 a.m. Counsel for Mr. Pineda needs additional time to
22              meet with Mr. Pineda, review the PSR; discuss the findings and recommendations
23              therein; and, research and draft informal objections as necessary. Assistant U.S.
24              Attorney Michael Beckwith and USPO Ronnie Preap have been advised of this
25              request and have no objection. The parties requests the Court adopt the following
26              schedule pertaining to the presentence report:
27
                Judgment and Sentencing date:                                     11/12/13
28
                Reply, or Statement of Non-Opposition:                            11/5/13


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 1
               Motion for Correction of the Presentence Report
 2             Shall be filed with the Court and served on the
               Probation Officer and opposing counsel no later than:         10/29/13
 3
               The Presentence Report shall be filed with the Court
 4
               And disclosed to counsel no later than:                       10/22/13
 5
               Counsel’s written objections to the Presentence Report
 6             Shall be delivered to the probation officer and opposing
 7
               Counsel no later than:                                        10/15/13

 8

 9      IT IS SO STIPULATED.
10   Dated: September 24, 2013                                  /s/ John R. Manning
11
                                                               JOHN R. MANNING
                                                               Attorney for Defendant
12                                                             Fred Pineda
13

14   Dated: September 24, 2013                                 Benjamin B. Wagner
                                                               United States Attorney
15
                                                        by:    /s/ Michael Beckwith
16
                                                               MICHAEL BECKWITH
17                                                             Assistant U.S. Attorney

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19
                                                ORDER

20
           IT IS SO FOUND AND ORDERED this 25th day of September, 2013.
21

22                                                      /s/ John A. Mendez____________
23
                                                        HON. JOHN A. MENDEZ
                                                        U.S. DISTRICT COURT JUDGE
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